          Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 1 of 13



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION     r, (-1

IN RE:SHARON BOST V. WEXFORD )
                                                                                ZM AUG.          P 14: 1 b
HEALTHSOURCES,INC.,ET AL     )
                                                     )                          1-1r:    D

                                                      )                           :r

                                                     )
                                                     )CASE No.61,;11-mr,.3870
                                                     )      (Miscellaneous Filing)
                                                     )
                                                     )

             RESPONSE,OBJECTIONS TO,AND.MOTION TO
 QUASH THIRD,PARTY SUBPOENA BY NONPARTY ALABAMA DEPARTMENT OF
                         CORRECTIONS

         The Alabarna DepartMent of Corrections objects to, and moves to quash, the third-party

Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Prernises in

a Civil Action, issued by the United States District Court for the District of Maryland and served

on July 26,2019("Exhibit A").

                                         STATEMENT OF FACTS.

         The Alabama Department of Corrections ("ADOC") was served with a third-party

subpoena, in the above-styled case, from the District Court for the District of Maryland (Exhibit

A). The subpoena orders nonparty ADOC to produce what is likely over a million of pages of

documents from three primary sources: (1) documents relating to ADOC's relationship with its

third party medical provider Wexford Health Sources, Inc. (and/or its parent company Bantry

Group);(2) documents ADOC has provided to the United States Department of Justice ("DOT')


  The primary action from which this document arises was filed in(and is pending in) the United States District Court
for the District of Maryland, Case No. 1:15-cv-03278-ELH (Bost v. Watford Health Sources, Inc.). This document is
filed in the Middle District of Alabama pursuant to Fed. R. Civ. P.45(d)(3)(A). Neither the act offiling this document
nor any statement made in this document should be construed as a waiver of ADOC's objection to the lack ofpersonal
jurisdiction of the District Court for the District of Maryland, nor as consent to that court's jurisdiction. The
undersigned counsel is making a limited purPose appearance only for the purpose ofobjecting to the subpoena attached
to this document as Exhibit A.
          Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 2 of 13



in its pending and on-going investigations of ADOC (relating to Wexford)2; and(3)all documents

relating to a class action pending in this district, Braggs v. Dunn, et al. Case No. 2:14-14C 00601

(M.D. Ala.)3.(See Exhibit A,Subpoena in Bost v. Wexford Health Sources, Inc., pp. 5-7).

         A considerable number of these documents are publicly available or available from

alternative sources. Plaintiff does not need nonparty ADOC to expend its own public resources to

obtain and disclose these documents at its own expense. Additionally, a large number of these

documents would have been filed under seal by order ofthis Court, covered by protective orders,4

produced pursuant to a non-disclosure agreement, and/or would otherwise include information that

is privileged or confidential. Finally, besides the fact that Plaintiffs counsel is seeking to enforce

this subpoena outside of the Maryland's federal district court's territorial limits, and beyond this

subpoena's offense to federalism and the Eleventh Amendment,requiring ADOC to produce these

documents would be overly burdensome on ADOC and its staff and would be highly

disproportional to the needs of the Bost v. Wexford case.

         ADOC was served with the subpoena on July 26,2019(Exhibit A,pp. 1, 8). The subpoena

designated the place of production as a law firm in Montgomery, Alabama, the location of the

ADOC administrative office.

 JURISDICTION OVER THIS MATTER IN THE MIDDLEDISTRICT OF ALABAMA

         Pursuant to Rule 45(d)(3)(A) of the Federal Rules of Civil Procedure, the court for the

district"where compliance is requirer hasjurisdiction over motions to quash subpoenas. Because



2 ADOC counsel estimates that nearly 300,000     docuthents have been provided to DOJ as part of their investigations.
Because Wexford has been ADOC's medical care provider since April 1, 2018, and the subjects ofthe investigations
often involve to some &tent, medical care given, it would be difficult to determine which ofthose 300,000 documents
"relate to Wexford."
3 Braggs was filed over five years ago and remains active. The docket sheet alone is 517 pages long and contains over
2,500 entries.
4There are eight docket entries in Braggs that deal with various protective orders in the case. See Docs. 70, 164,
266,279,323, 325, 334 and 335.

                                                          2
        Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 3 of 13



compliance is required in Montgomery, Alabama, the appropriate district court for this motion is

the District Court for the Middle District of Alabama.

                                     MOTION TO QUASH

       In a serious offense to federalism, Plaintiffs have enlisted a federal district court 800 miles

away in Maryland to drag the State of Alabama into a case in which it is an unrelated nonparty.

Worse still, the arm of the State that was served has no meaningful contacts, if any at all, with

Maryland, compliance with the subpoena would be unduly burdensome, and the information

sought is overly broad and protected. This subpoena (and ones like it filed by counsel for Bost in

ten states) represents an unconstitutional overreach and an ill-advised fishing expedition.

Therefore, the subpoena is due to be quashed.

               The Alabama Department of Corrections Is Not Within the Personal
               Jurisdiction of the District of Maryland.

       The Alabama Department of Corrections does not fall within the personal jurisdiction of

the District Court for the District of Maryland. Because federal courts cannot subpoena entities

over which they do not have jurisdiction, the subpoena should be quashed. As the Supreme Court

reasoned in U.S. Catholic Conference v. Abortion Rights Mobilization, Inc., 487 U.S. 72(1988)

when addressing subject-matter jurisdiction:

       Federal Rule of Civil Procedure 45 grants a district court the power to issue
       subpoenas as to witnesses and documents,but the subpoena power ofa court cannot
       be more extensive than its jurisdiction. It follows that if a district court does not
       have subject-matterjurisdiction over the underlying action, and the process was not
       issued in aid of determining that jurisdiction, then the process is void.

Id. at 76. Although U.S. Catholic Conference specifically concerned subject-matter jurisdiction,

federal courts also cannot subpoena nonparties over which they do not have personal jurisdiction.

Leibovitch v. Islamic Republic ofIran, 852 F.3d 687,689-90(7th Cir. 2017)(noting that issuing a

subpoena is "enforcing something rather than beggine and thus requires personal jurisdiction);


                                                 3
          Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 4 of 13



see also Gucci America, Inc. v. Weixing Li, 768 F.3d 122, 141 (2d Cir. 2014); Application to

Enforce Administrative Subpoenas Duces Tecum ofS.E.C. v. Knowles,87 F.3d 413,418(10th Cir.

1996).

         While the Supreme Court has never addressed the question of when a court has personal

jurisdiction over nonparties, several lower federal courts "have adapted the test for civil defendants

for use in assessing the question whether they may properly exercise jurisdiction over a nonparty."

Gucci America, 768 F.3d at 136-37. In other words, if the court has no authority to exercise its

power over a person as a civil defendant, it likewise has no power over that person as a nonparty

to the suit. And because ADOC lacks contacts with Maryland sufficient to subject ADOC to suit

in Maryland, the District of Maryland has no jurisdiction over it for the purposes of issuing a

subpoena.

         To establish personal jurisdiction, federal district courts sitting in diversity cases must first

look to the long-arm statutes ofthe states in which they reside. Christian Sci. Bd. ofDirs. v. Nolan,

259 F.3d 209 (4th Cir. 2001). Unless Bost can show that ADOC transacts business in Maryland,

supplies goods or services in Maryland, or uses real property in Maryland, ADOC does not fall

within Maryland's long-arm statute. See Md. Code Ann., Cts. & Jud. Proc. § 6-103. Therefore, the

District of Maryland cannot exercise jurisdiction over ADOC.

         Even ifADOC falls within Maryland's long-arrn statute, the District ofMaryland still must

have "general" or "specific" personal jurisdiction over ADOC to issue a subpoena. See Daimler

AG v. Bauman, 571 U.S. 117, 127 (2014). But ADOC does not have operations "so continuous

and systematic" in Maryland to "render [it] essentially at home' in that state. See id. ADOC

therefore cannot fall under the District of Maryland's "general" personal jurisdiction. See id. Nor

does ADOC have meaningful"minimum contacts," if it has any at all, with the State of Maryland,



                                                    4
        Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 5 of 13



and so the District of Maryland does not have "specific" personal jurisdiction in this case either.

See id. at 126.

       Ultimately, because ADOC is not within the District of Maryland's personal jurisdiction,

the subpoena is improper and should be quashed.

       II.     The Subpoena Is Improper Because Alabama Has Not Waived Its Sovereign
             ' Immunity.

       The Eleventh Amendment guarantees States sovereign irnmunity extending "to any suit in

law or equity, cotnmenced or ptosecuter against them. U. S. Const. amend. XI. Additionally, the

States retained their "traditional" sovereign immunity when joining the Union. See Franchise Tax

Board ofCalifornia v. Hyatt, 139 S. Ct. 1485, 1496(2019). Accordingly,the "sovereign immunity

ofthe States ... neither derives from,nor is limited by,the terms ofthe Eleventh Arnendment." Id.

       The Supreme Court has plainly defined a "suir against the government as an action where

"the judgrnent sought would ... interfere with the public administratioe or "if the effect of the

judgment would be to restrain the Government from acting, or to compel it to act." Dugan v. Rank,

372 U.S. 609, 620(1963)(internal quotations omitted). Because the third-party subpoena would

compel the Alabama Department of Corrections to provide documents it would not otherwise

disclose, the subpoena is a "suir against the State within the meaning ofthe Eleventh Amendment,

or otherwise. And because the State has not waived its sovereign immunity, the District of

Maryland neither had subject-matter jurisdiction to issue the subpoena, nor can the subpoena be

enforced. See Kemper v. U.S. Dep't of Education, 285 F. Supp. 3d 145, 148 (D.D.C. 2018)

("Sovereign immunity 'goes to the subject matter of the court.'"). The Bost subpoena should be

quashed.

       At least two circuit courts, including the circuit to which the issuing court belongs(Fourth

Circuit), have held that the United States and its agencies need only respond to third-party

                                                5
          Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 6 of 13



subpoenas if they have waived sovereign immunity. As the Fourth Circuit explained, "[e]ven

though the government is not a party to the underlying action, the nature of the subpoena . . . is

inherently that of an action against the United States because such a proceeding `interfere[s] with

the public administration' and compels the federal agency to act in a manner different from that in

which the agency would ordinarily choose to exercise its public function." Boron Oil Co.. v.

Downie,873 F.2d 67, 70-71 (4th Cir. 1989)(quoting Dugan,372 U.S. at 620);see also, COMSAT

Corp. v. Nat'l Sci. Found., 190 F.3d 269, 277 (4th Cir.1999)("[I]t is sovereign immunity ... that

gives rise to the Government's power to refuse compliance with a subpoena."). The Second Circuit

agreed, writing that,"the enforcement ofthis [third-party] subpoena duces tecum ... would compel

the EPA to act and therefore is barred by sovereign immunity in the absence of waiver." U.S.

E.P.A. v. Gen. Elec., 197 F.3d 592, 597(2d Cir. 1999).

         Two other circuits have also applied this reasoning to third-party subpoenas in the context

of tribal sovereign immunity. The Eighth Circuit held in Alltel Commc'ns, LLC v. DeJordy, 675

F.3d 1100, 1105 (8th Cir. 2012), that "a federal court's third-party subpoena in private civil

litigation is a 'suit' that is subject to Indian tribal inununity." The Tenth Circuit agreed. See Bonnet

v. Harvest(U.S.)Holdings, Inc., 741 F.3d 1155 (lOth Cir. 2014).

         The sarne logic extends to the immunity enjoyed by the States. To be sure, some courts

have rejected the argument that sovereign immunity shields States from third-party subpoenas.

See, e.g., In re Missouri Dep't ofNat. Res., 105 F.3d 434, 436 (8th Cir. 1997); United States v.

UMASS, Worcester, 167 F. Supp. 3d 221,225(D. Mass. 2016); Arista Records LLC v. Does 1-14,

No. 7:08-cv-00205, 2008 WL 5350246, at *3-5(W.D. Va. Dec. 22, 2008).5 But these decisions

either ignore contrary holdings from the federal and tribal immunity contexts or focus exclusively


5 Both actions featured challenges to subpoenas by nonparty state colleges in light of the historical practice of
"routinely permitt[ing]" discovery against "non-party state colleges." Arista Records, 2008 WL 5350246, at *3.

                                                       6
        Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 7 of 13



on the text of the Eleventh Amendment when determining whether the subpoenas constituted a

"suit." But the Supreme Court's recent ruling in Hyatt reaffirms that the States' sovereign

immunity is not limited by the Eleventh Amendment's text. Thus, when the Arista court denied

the motion to quash because "the sovereign immunity of states in federal court proceedings is

based upon the Eleventh Amendment,"2008 WL 5350246, at *3,and the UMASS court denied the

motion because "State sovereign immunity is derived from the Eleventh Amendment," 167 F.

Supp. 3d 221, 224, the courts ran afoul of Hyatt. The Court held that the States retain their

"traditional" immunity, which extends beyond the narrow text of the Eleventh Amendment. 139

S. Ct. at 1496. And that immunity extends to subpoenas like the one at issue here. As the Fourth

Circuit held when considering a subpoena issued against an employee of the federal sovereign,

"[t]he subpoena proceedings fall within the protection of sovereign immunity even though they

are technically against the federal employee and not against the sovereign." Boron Oil Co. v.

Downie, 873 F.2d 67, 71 (4th Cir. 1989). The same is true in this proceeding against Alabama.

Because Alabama has not '`unequivocally expressecr a waiver of its sovereign immunity in this

case, Bosh's third,party subpoena was improperly issued and must be quashed. See U.S. v. Nordic

Village Inc., 503 U.S. 30,33(1992).

       III.   Compliance with the Subpoena Would Impose an Undue Burden on the
              Alabama Department of Corrections in Conflict with Fed. R. Civ. P.45(d)

       The subpoena would impose an undue burden on the Alabama Department of Corrections.

Moreover, many of these documents are publicly available, and ADOC need not produce them.

Under Fed. R. Civ. P. 45(d)(3)(A)(iv), it is mandatory that this court quash subpoenas when it

finds they cause an undue burden on the party subject to them.

       First, many of the documents requested by the subpoena are available through alternative

means. For instance, the subpoena requests every document "relating to the allegations of


                                               7
        Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 8 of 13



inadeqFate medical care in Braggs v. Dunn, et al., Case No. 2:14 C 00601 (M.D. Ala)." Many of

the Braggs'documents, at least those not filed under seal or subject to protective orders, have been

publicly filed in the Braggs case and are easily accessed through the PACER public database of

court documents.

        Nor is there any indication that Plaintiff Bost has attempted to obtain many of these

documents directly from Wexford Health Sources, Inc., who is a party to the primary action and

subject to the Maryland federal district court's jurisdiction. It thus appears that the plaintiffin the

primary action has not attempted to acquire these documents through these alternative means

before subpoenaing ADOC,a nonparty to the case.

       Fed. R. Civ. P. 45(d)(1) requires subpoenaing parties to take "reasonable steps to avoid

imposing undue burden or expense to parties subject to the subpoena. Because many of the

documents requested are available through alternative sources, and the plaintiff in the primary

action has not shown that she has sought them using these sources before subpoenaing ADOC,the

subpoena must be quashed. This is especially true given that ADOC is a foreign nonparty to the

case, and the Advisory Committee Notes to the FRCP highlight that a "prime concern should be

avoiding burdens on [foreign] nonparties subject to subpoenas." Fed. R. Civ. P. 45(f) advisory

committee nt•te (2013). The reasoning of the District of Connecticut is persuasive here:

       [T]he information in question appears to be publicly available from a source that is
       more convenient, less burdensome, or less expensive, without subjecting
       [subpoenaed nonparty] to undue burden....[The subpoenaing party] believes that
       taking the time and effort to search the pleadings of the bankruptcy proceeding
       would be a "very burdensome task. This may be so, but in the absence of some
       showing that the publicly available 'information in that proceeding is inadequate,
       the onus is properly on [the subpoenaing party] as a party to the litigation. The
       burden that production would place on [the nonparty] is unreasonable.

Travelers Indern. Co. v. Metro Life Ins. Co.,228 F.R.D. 111, 114(D. Conn. 2005). Bost has made

no showing that the publicly available sources of the documents she seeks is inadequate. This


                                                  8
             Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 9 of 13



court should follow the District of Connecticut in quashing a third-party subpoena when the

requested information is publicly available or otherwise available.

         Second,compelling ADOC to provide what could easily arnount to over a million pages of

documents would obviously impose an undue burden on ADOC. The movant could not simply

click on a"copy all" button and burn the documents to ajump drive. Presumably not all documents

previously compiled would be deemed to the within the subpoena's coverage. Sorting through

them for possible compliance would be a Herculean task. Further, the documents would need to

be reviewed based on concerns related to confidentiality, security, and privilege, and would require

significant redaction. The cost to ADOC in terms of labor and distraction from its primary duties

would clearly be considerable.

         Third, the requested information is most likely irrelevant and clearly disproportional to the

needs of the litigants in the Bost v. Wexford Health Sources, Inc. action.7 According to the

complaint, Bost is a single-plaintiff action premised on an incident involving the death of a female

detainee in a Baltimore city detention facility in 20/2—nearly six years before Wexford even

became ADOC's prison system-wide medical nrovider.8 (See EXhibit C, First Amended

Complaint in Bost v. Wexford Health Sources, Inc.). The obvious differences between the

allegations of the Plaintiff in Bost are simply too stark to make any of the documerits relevant

(much less proportional) to the claims and defenses in Bost. To state the obvious, the individual

medical care providers and administrators in Alabama would be different than those in Baltimore.

City jail systems and the medical issues presented there are different from the medical issues

presented by state prison systems because the health needs, classification opportunities, and



7 "Partiesmay obtain discovery regarding nonprivileged matter that is relevant to any party's claim or defense and
proportional to the needs ofthe case...." Rule 26(b)(1), Federal Rules ofCivil Procedure.
8 Wexford commenced, per its contract, provision of medical care for inmates assigned to ADOC's custody on April
1, 2018. Wexford had not provided medical services to ADOC prior to April 1, 2018.

                                                       9
          Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 10 of 13



treatment options related to shorter-term detainees are different than those concerning long-term

prison convicts. Further, the medical issues presented by male prisoners are often different from

those presented by female inmates.9 But most glaring is the temporal difference between when

the incident occurred giving rise to the Maryland case, 2012, and when Wexford began to provide

medical care to inmates under ADOC's custody,2018. Requiring ADOC to collect,comb through,

and convey to Bost up to a million pages of documents, whose relevance and admissibility are

highly questionable, presents a disproportional cost and burden to ADOC when compared to the

likely benefit, if any, Bost might obtain from these records produced by a state prison system 800

miles away with a predoininately male population and generated six or seven years after the

plaintiffs loss.

         IV.      The Subpoena Is Overly Broad; The Documents Sought Are Confidential,
                  Sensitive, and Protected; The Information Sought Is Not Reasonably
                  Calculated to Lead to Admissible Evidence; And,the Burden on the Subpoena
                  Target(ADOC)is Disproportional to the Needs of the Underlying Case.

         In addition to the objections stated above, the requests made are overly broad and the

documents sought are likely to contain confidential records, security sensitive records, privileged

materials, and records not reasonably calculated to lead to admissible evidence. First, the requests

are vague and overly broad. There is no way the Plaintiff can justify all the documents she seeks

in order to prosecute her single-plaintiff jail-based claim that arose in 2012 in Baltimore,

Maryland. The requests are filled with vague and overly broad terms like "any," "including but

not limited to," "all," "reflecting or comprisine and "relating to." Use of these terms in the




9 The DOJ investigations are focused  solely on ADOC's male prison population. Although the Braggs litigation will
eventually address the medical care of all inmates with ADOC's custody, it has hereto addressed only mental health
issues and claims related to the Americans with Disabilities Act. Alabatha's inmate population is predominately male.
In 2018, there were 24,361 male inmates under ADOC'sjurisdietion, bUt only 2,429 female inmates.

                                                         10
        Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 11 of 13



requests removes any reasonable limit to the documents sought and also makes it difficult for the

movants to comply.

        Also, the documents, many relating to the health of inmates and all generated within the

context of a prison system, will obviously contain a lot of confidential information protected by

statute (i.e., HIPAA laws)and which implicate security concerns. Federal law protects the privacy

ofindividuals who are not parties to an action, particularly where, as is the case is here, the sought

after information is irrelevant to any claim or defense. Premium Serv. Corp. v. Sperry &

Hutchinson Co., 511 2d 225, 229 (9th Cir. 1975); Small v. Provident Life and Acc. Ins. Co., 199

WL 1128945, at * 2(E.D. Pa. Dec. 9, 1999). Some documents may very well be protected by

attorney-client privilege and subject to a work product objection. Finally, many documents sought

would fall under seal, protective orders (Braggs) or a nondisclosure agreement (DOJ

investigations). To the extent the requests seek investigative materials related to a pending

criminal investigation, those materials are protected by the law enforcement privilege.

                                          OBJECTIONS

       1.      The subpoena is served outside thejurisdictional limits ofthe Federal District Court

               for the District of Maryland, and the Court lacks personal jurisdiction over the

               subpoenaed party.

       2.      The subpoena, if enforced, would violate Alabama's sovereign immunity.

       3.      The document requests are vague and overbroad.

       4.      Compliance with the document requests would place an undue burden on the

               movant.

       5.      Many documents can be obtained by the Plaintiff from alternative sources.

       6.      Many documents sought are under seal, confidential, sensitive, and subject to

               various privileges and legal protections.

                                                 11
      Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 12 of 13



      7      Many documents are subject to protective orders or a. non€disclosure agroetnent.

      8,     The documents sought are irrelevant, not reasonably calculated to. lead to

             admissible evidence, and are not proportional tö the needs ofthe underlying case:

  •   9.     The time allotted for compliance with the subpoena, 14. business days from service,

            • is inadequate and unreasonable.

      Submitted this the 8th day of August,2019.

                                                EVE MARSHALL
                                                torney General

                                            arri . McCollum (ELL047)
                                           Gen r Counsel



                                           Bart Harmon(HAR127)
                                           Assistant Attomey General

ADDRESS OF COUNSEL:
ALABAMA DEPARTMENT OF CORRECTIONS
LEGAL DIVISION
301 RIPLEY STREET
P.O. BOX 301501
MONTGOMERY,ALABAMA 36130
334-353-4849
bartharmon@doc.a1abama.gov




                                                12
        Case 2:19-mc-03887-ECM Document 1 Filed 08/08/19 Page 13 of 13



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of August, 2019, I filed the foregoing with the Clerk of
the Court by U.S. Mail to following counsel (and a courtesy copy via e-mail, if available):


Sarah Grady
Loevy & Loevy
311 North Aberdeen St, 3rd Floor
Chicago, IL 60607



                                             Bart Harmon(HAR127)
                                             Assistant Attorney General




                                                13
